       Case 1:22-cv-10652-MPK           Document 143        Filed 04/04/25      Page 1 of 2




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


                                       )
MARIO PILLCO MOROCHO, Et Al.,          )
                                       )
            Plaintiffs,                )
                                       ) CIVIL ACTION NO. 1:22-cv-10652-WGY
            v.                         )
                                       )
BRISTOL COUNTY SHERIFF’S OFFICE,       )
Et Al,                                 )
                                       )
            Defendants.                )
_______________________________________)

                                  NOTICE OF APPEARANCE

       Kindly enter my appearance as co-counsel for the Defendants, Bristol County Sheriff’s

Office, Sheriff Thomas Hodgson and Superintendent Steven Souza with respect to the above-

entitled action in addition to the appearance of William P. Breen, Jr. already on file.

                                              Respectfully submitted,


                                              /s/ Zachary M. Wallack
                                              Zachary M. Wallack (BBO # 687965)
                                              Eckert Seamans Cherin & Mellott, LLC
                                              Two International Place, 16th Floor
                                              Boston, MA 02110
                                              617.342.6800
                                              617.342.6899 (facsimile)
                                              zwallack@eckertseamans.com

Dated: April 4, 2025




                                                 1
      Case 1:22-cv-10652-MPK            Document 143        Filed 04/04/25      Page 2 of 2




                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those identified as non-registered participants on April 4, 2025.



                                              /s/ Zachary M. Wallack
                                              Zachary M. Wallack




                                                 2
